
ORDER
Defendant/Appellant Darcy Boyd filed a Petition for Writ of Habeas Corpus and request for stay of execution of sentence on February 7, 2012. After a review of the Petition and for good cause shown,
IT IS HEREBY ORDERED that Defendant/Appellant’s request for stay of execution of sentence is granted.
IT IS FURTHER ORDERED that the Court Of Appeals will consider the Petition for Writ of Habeas Corpus. The following briefing schedule shall apply:
*291Appellant shall file a Brief, Memorandum or Statement in Support of his Petition by February 21, 2012.
Appellee shall have 15 days after receipt of Appellant’s Brief to file an answer Brief, Memorandum or Statement if desired.
If Appellee files an answer Brief, Memorandum or Statement, Appellant may file a Reply within 10 days of its receipt.
